JS 44 (Rev. 10/20)                   Case 5:21-cv-03682-JLS
                                                       CIVILDocument
                                                             COVER1SHEET
                                                                     Filed 08/18/21 Page 1 of 34
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                                                                                                               County of Northampton and
    Tiffany Wilson                                                                                             Department of Corrections of Northampton County
    (b)   County of Residence of First Listed Plaintiff                Warren County, NJ                       County of Residence of First Listed Defendant Northampton County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
Fernando I. Rivera, Esq., Console Mattiacci Law,
1525 Locust Street, 9th Fl., Philadelphia, PA 19102 215-545-7676

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4   ✖ 4

                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. §2000e, et seq.
VI. CAUSE OF ACTION                          Brief description of cause:
                                                                               Plaintiff was discriminated and retaliated against based on her sex .
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X   Yes           No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
08/18/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM
TIFFANY WILSON                                     :                          CIVIL ACTION
                                                   :
                        v.                         :
                                                   :
COUNTY OF NORTHAMPTON, et al.                      :                          NO.

 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
 (a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

 (b) Social Security – Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.                                   ( )

 (c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

 (d) Asbestos – Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                            ( )

 (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                               ( )

 (f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( X)


 08/18/2021                                                          Plaintiff, Tiffany Wilson
 Date                               Attorney-at-law                       Attorney for
  215-545-7676                   215-689-4137                          rivera@consolelaw.com

 Telephone                           FAX Number                           E-Mail Address


 (Civ. 660) 10/02
                              Case 5:21-cv-03682-JLS
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    08/18/21 Page 3 of 34
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                          Belvidere, NJ 07823
Address of Plaintiff: ______________________________________________________________________________________________
                                             669 Washington Street, Easton, PA 18042
Address of Defendant: ____________________________________________________________________________________________
                                                                           Easton, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.       Is this case related to property included in an earlier numbered suit pending or within one year                        Yes                       No   ✔
         previously terminated action in this court?

2.       Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                       Yes                       No   ✔
         pending or within one year previously terminated action in this court?

3.       Does this case involve the validity or infringement of a patent already in suit or any earlier
         numbered case pending or within one year previously terminated action of this court?
                                                                                                                                 Yes                       No   ✔
4.       Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                       Yes                       No    ✔
         case filed by the same individual?

I certify that, to my knowledge, the within case              is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      08/18/2021
DATE: __________________________________                      __________________________________________                                    319009
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.             Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

         1.    Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
         2.    FELA                                                                               2.    Airplane Personal Injury
         3.    Jones Act-Personal Injury                                                          3.    Assault, Defamation
         4.    Antitrust                                                                          4.    Marine Personal Injury
         5.    Patent                                                                             5.    Motor Vehicle Personal Injury
         6.    Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔        7.    Civil Rights                                                                       7.    Products Liability
         8.    Habeas Corpus                                                                      8.    Products Liability – Asbestos
         9.    Securities Act(s) Cases                                                            9.    All other Diversity Cases
         10.   Social Security Review Cases                                                             (Please specify): ____________________________________________
         11.   All other Federal Question Cases
               (Please specify): ____________________________________________



                                                                             ARBITRATION CERTIFICATION
                                                   (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

            Fernando I. Rivera
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

               Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     x         exceed the sum of $150,000.00 exclusive of interest and costs:

     x         Relief other than monetary damages is sought.


      08/18/2021
DATE: __________________________________                      __________________________________________                                    319009
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA
___________________________________
                                     :
TIFFANY WILSON                       :
Belvidere, NJ 07823                  :
                                     :
                      Plaintiff,     :
                                     :
               v.                    :     CIVIL ACTION NO.
                                     :
COUNTY OF NORTHAMPTON                :
669 Washington Street                :
Easton, PA 18042                     :
                                     :
                      and,           :
                                     :
DEPARTMENT OF CORRECTIONS :
OF NORTHAMPTON COUNTY                :
669 Washington Street                :
Easton, PA 18042                     :
                                     :
                      Defendants.    :     JURY TRIAL DEMANDED
___________________________________:

                                         COMPLAINT

I.     INTRODUCTION

       Plaintiff, Tiffany Wilson (“Plaintiff”), brings this action against her former employer,

County of Northampton and Department of Corrections of Northampton County (collectively,

“Defendants”) for unlawful discrimination based on her sex and retaliation because of her

complaints of sex discrimination and retaliation, in violation of Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”), and the Pennsylvania Human

Relations Act, as amended, 43 P.S. § 951, et seq. (“PHRA”). Plaintiff seeks all damages,

including economic loss, compensatory and punitive damages, attorneys’ fees and costs, and all

other relief this Court deems appropriate under applicable federal and state law.
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II.    PARTIES

       1.       Plaintiff is an individual and a citizen of the state of New Jersey.

       2.       Plaintiff is a female.

       3.       Defendant County of Northampton is a public organization and citizen of

Pennsylvania, with a principal place of business located in Easton, Pennsylvania. Defendant

County of Northampton is funded through tax-payer monies, is tasked with the legislative and

executive functions involved in the oversight and regulation of property and finances that are

within and involving the areas falling within Northampton County, Pennsylvania.

       4.       Defendant Department of Corrections of Northampton County is a public

organization and citizen of Pennsylvania, with a principal place of business located in Easton,

Pennsylvania.

       5.       Northampton County controls and directs the Department of Corrections of

Northampton County, including in connection with funding and salaries for its employees.

       6.       At all times material hereto, Plaintiff was paid by Northampton County.

       7.       Defendants are engaged in an industry affecting interstate commerce and

regularly does business in Pennsylvania.

       8.       At all times material hereto, Defendants acted as an “employer” of Plaintiff within

the meaning of the statutes which form the bases of this matter.

       9.       At all times material hereto, Plaintiff was an “employee” of Defendant within the

meaning of the statutes which form the bases of this matter.

       10.      At all times material hereto, Defendants employed more than fifteen (15)

employees.

       11.      At all times material hereto, Defendant acted by and through its authorized agents,
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servants, workmen, and/or employees acting within the course and scope of their employment

with Defendants and in furtherance of Defendants’ business interests.

III.   JURISDICTION AND VENUE

       12.      The causes of action which form the basis of this matter arise under Title VII and

the PHRA.

       13.      The District Court has jurisdiction over the action pursuant to 28 U.S.C.

§ 1332(a), in that the Plaintiff is a citizen of New Jersey and Defendant is a citizen of

Pennsylvania and the amount in controversy exceeds $75,000, exclusive of interest and costs,

and 28 U.S.C. § 1331, in that Plaintiff has alleged violations of federal law.

       14.      The District Court has jurisdiction over Count I (Title VII) pursuant to 28 U.S.C.

§ 1331 and § 1332.

       15.      The District Court has jurisdiction over Count II (PHRA) pursuant to 28 U.S.C.

§ 1332 and § 1367.

       16.      Venue is proper in the District Court under 28 U.S.C. §1391(b).

       17.      On October 31, 2019, Plaintiff filed a Complaint with the Pennsylvania Human

Relations Commission (“PHRC”), complaining of acts of discrimination and retaliation alleged

herein (the “Complaint”). The Complaint was cross-filed with the Equal Employment

Opportunity Commission (“EEOC”). Attached hereto, incorporated herein, and marked as

Exhibit A is a true and correct copy of the Complaint (with personal identifying information

redacted).

       18.      More than 1 year has passed since Plaintiff filed his Complaint of Discrimination

with the PHRC and EEOC.

       19.      On or about May 21, 2021, the EEOC issued to Plaintiff a Notice of Right to Sue
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for the Complaint (the “Notice”). Attached hereto, incorporated herein, and marked as Exhibit B

is a true and correct copy of the Notice (with personal identifying information redacted).

       20.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.    FACTUAL ALLEGATIONS

       21.     Plaintiff was hired by Defendants in or about October 22, 2018.

       22.     At the time of her separation from Defendants on July 27, 2020, Plaintiff held the

position of Corrections Officer.

       23.     As a Corrections Officer, Plaintiff directly reported to Lieutenant Mark Williams

(“Williams”) (male); Williams reported to Captain Jason Werley (“Werley”) (male).

       24.     During her employment with Defendants, Plaintiff was one of approximately 15

female Correction Officer employees out of approximately 200 Correction Officer employees

reporting indirectly to Werley.

       25.     Defendants have an underrepresentation of female employees, particularly in

high-level positions, such as Lieutenant and Captain.

       26.     Beginning in or about February of 2019, on an ongoing basis, Plaintiff was

subjected to a hostile work environment at Defendant based on her sex, which included, but was

not limited to, being subjected to unwelcome, harassing, and offensive comments and conduct by

Kristan Camacho (“Camacho”) (male), Corrections Officer, who wanted to have a personal and

sexual relationship with Plaintiff. For example:

               a.     Sending Plaintiff text messages of a personal nature and asking Plaintiff to

go out with him for drinks after work;
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               b.      Repeatedly making comments about her physical appearance, including

commenting that Plaintiff looked “great” and telling her that he could tell that she was working

out;

               c.      Watching Plaintiff on the security cameras at work;

               d.      Telling Plaintiff that she should go on vacations with him to Florida;

               e.      Repeatedly calling Plaintiff outside of work on her personal cell phone,

despite Plaintiff’s requests that he stop;

               f.      Repeatedly      talking    about   taking   Plaintiff   out,   despite   Plaintiff

continuously rejecting his requests;

               g.      Telling Plaintiff that he should come over to her house and stating that he

was great with kids and could help Plaintiff out, because she was a single parent;

               h.      Working overtime hours so he could work extra shifts when Plaintiff was;

and

               i.      Taking his work breaks when Plaintiff did.

       27.     On numerous occasions, Plaintiff rejected Camacho’s advancements and asked

him to stop calling her and to leave her alone.

       28.     When Plaintiff rejected Camacho’s advances, Camacho would become upset.

       29.     Despite Plaintiff’s objections and rejections, Camacho did not stop his harassing

comments and conduct.

       30.     On or about February 19, 2019, in a meeting with Captain David Collins

(“Collins”) (male), Plaintiff subjected written incident reports complaining of Camacho’s sex

discriminatory conduct (the “February 19th Meeting”).
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        31.      During the February 19th Meeting, Plaintiff complained that Camacho was trying

to have a personal and sexual relationship with her, and that Plaintiff felt powerless as a female

in a male-dominated industry.

        32.      During the February 19th Meeting, Plaintiff complained to Collins that Camacho’s

sex-based comments and conduct toward her had been going on for some time but that she was

afraid to report it because she was a new employee at Defendants.

        33.      During the February 19th Meeting, Plaintiff complained to Collins that Camacho

made her feel uncomfortable and nervous.

        34.      In response to Plaintiff’s complaints of sex discrimination, Collins accused

Plaintiff of responding to Camacho’s text messages and did not appear to take her sex

discrimination complaints seriously.

        35.      Defendants failed to remedy or prevent the sex discrimination to which Plaintiff

was subjected.

        36.      In or around April of 2019, Camacho approached Plaintiff and asked her if she

made a complaint about him.

        37.      Plaintiff responded by telling Camacho that she made a complaint against him

because she was feeling uncomfortable with his comments and conduct towards her.

        38.      In or around April of 2019, Camacho sent an Edible Arrangements fruit bouquet

to Plaintiff’s house.

        39.      In or around April of 2019, after Plaintiff’s complaint of sex discrimination to

Collins, Camacho’s unwelcome, harassing, and offensive conduct continued. For example:

                 a.     Physically touching Plaintiff’s shoulder and the back of her neck;

                 b.     Running his hands through Plaintiff’s hair; and
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               c.       Placing his hand on Plaintiff’s upper back and sliding it down to her lower

back.

        40.    In or around April of 2019, Eric Slack (“Slack”) (male), Corrections Officer,

commented to Orlando Rivera (“Rivera”) (male), Corrections Officer, how weird it was that

Camacho placed his hand on Plaintiff’s upper back and slid it down to her lower back.

        41.    On April 19, 2019, Camacho followed Plaintiff around at work and continued to

come toward her and aggressively backed her into a corner.

        42.    Officer Camacho returned to Plaintiff’s office later that day and put her water jug

down on her desk and pulled up a chair next to her desk, trapping her in her office; the only way

to get out was to walk by Camacho but in a very close manner, which Plaintiff felt

uncomfortable doings.

        43.    In response, Plaintiff put her hand out in front of her to stop him from coming

closer to her and continued to tell him to back up and stop cornering her.

        44.    On April 27, 2019, Camacho watched Plaintiff put on ChapStick, and stated to

her: “let me get some, but not from the container.”

        45.    Plaintiff understood that Camacho wanted to kiss her, and she rejected his

advances.

        46.    On April 27, 2019, following his latest acts of harassment, Camacho again

approached Plaintiff in her office and was persistent in trying to hold a conversation with her as

she was working.

        47.    Camacho was making it difficult for Plaintiff to work by playing with items on

her desk or trying to touch her shoulders and her hair.
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       48.      After Camacho left Plaintiff’s office, Brittany Boreli (“Borelli”) (female),

Corrections Officer, came into Plaintiff’s office and asked what Camacho was doing.

       49.      Plaintiff told Borelli that she had complained about Camacho due to his sex-based

comments and conduct toward her, and that he would not stop and leave her alone.

       50.      Borelli told Plaintiff that she had noticed that he was “really all over [Plaintiff]

and would not leave [Plaintiff] alone.”

       51.      On Plaintiff’s way back to her office from a “round” (the act of walking through

and surveilling a prison unit) Camacho walked toward her and commented that she went on her

round without him.

       52.      On or about April 27, 2019, as Plaintiff walked past Camacho in the hallway,

Camacho turned toward her and smacked her buttocks.

       53.      Plaintiff quickly walked away from Camacho, as she was in too much shock to

know how to respond, and Camacho laughed and stated, “it is not that serious, I was just messing

with you.”

       54.      On April 27, 2019, Camacho called Plaintiff from an unrecognized number on her

personal cell phone, asking her if she was upset.

       55.      On or about May 6, 2019, in a meeting with Williams, after he returned from

vacation, Plaintiff complained of Camacho’s continued sex discriminatory and retaliatory

conduct (the “May 6th Meeting”).

       56.      During the May 6th Meeting, Plaintiff complained of all the incidents that

occurred since her February 2018 complaint about Camacho, including that he slapped her on

her buttocks.
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       57.     During the May 6th Meeting, Williams pulled up video footage showing the

incident in which Camacho slapped Plaintiff on her buttocks.

       58.     At the end of the May 6th Meeting, Williams stated to Plaintiff that Camacho was

not going to remain employed with Defendants.

       59.     On or about May 20, 2019, in a meeting with Elizabeth Kelly (“Kelly”) (female),

Human Resources Director, Plaintiff submitted a written incident report and complained of

Camacho’s sex discriminatory and retaliatory conduct.

       60.     Plaintiff complaint to Kelly included that Camacho slapped her on her buttocks

and engaged in retaliation and sex-based comments and conduct toward her, outlining all of the

incidents alleged herein.

       61.     Kelly stated to Plaintiff that Camacho’s behavior was unacceptable and that it

would not be tolerated.

       62.     In or around June of 2019, Defendants placed Camacho on a paid administrative

leave for approximately 2 months.

       63.     While Camacho was on paid administrative leave, Plaintiff heard that employees

were spreading rumors that Camacho and Plaintiff had a sexual relationship.

       64.     While Camacho was on paid administrative leave, Plaintiff heard that employees

were stating that she could not be trusted, and that she was getting male employees fired.

       65.     As a result of her complaints against Camacho, male employees began ignoring

Plaintiff and excluding her from conversations at work.

       66.     In response to the rumors and ongoing discriminatory and retaliatory conduct of

Plaintiff’s male peers, female employees told Plaintiff that sex-based comments and conduct

were normal at Defendants, that Camacho would not get fired, and that if female employees,
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including Plaintiff, wanted to keep their jobs, they “just have to get over it and have a thick

skin.”

         67.    In or around early-August of 2019, Plaintiff complained to Kelly that she was

upset and uncomfortable with how Defendants handled her complaints, and that she was afraid

for her safety because Camacho knew where she lived, as evidenced by him sending Plaintiff an

Edible Arrangements fruit bouquet to her home.

         68.    Plaintiff told Kelly that she was planning to move out of her current apartment, to

which Kelly responded that it was a good idea.

         69.    On August 13, 2019, Kelly informed Plaintiff that Camacho would be returning to

work at Defendants.

         70.    On August 13, 2019, Defendants issued to Plaintiff a Directive entitled “Direction

for personal safety.”

         71.    Kelly told Plaintiff that she was issued the Directive “[f]or [Plaintiff’s]

protection.”

         72.    The Directive stated the following:

         In order to eliminate the risk of any violation of County Policy 3.102, Unlawful
         Harassment Prevention, which includes sexual harassment, occurring toward you
         by Corrections Officer Kristian Camacho, you are hereby directed to comply with
         the following directive: 1. Do not have any unnecessary verbal contact or
         communication with Corrections Officer Kristian Camacho. Unnecessary contact
         includes any conversation, text messages, email, or other communication by any
         means that is friendly or social in nature. Unnecessary contact also includes any
         such communication that is not absolutely required in order to preform your work
         duties. 2. Although it is expected that there is no reason that you will have any
         physical contact with Officer Camacho, you are hereby directed to use your best
         efforts to avoid unnecessary physical contact with Officer Camacho. The
         workplace includes all County buildings, parking lots, walkways and other areas
         in or near where work is performed.
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       73.     The Directive stated that Defendants “hope that [Camacho and Plaintiff] can both

continue to work at [Defendants] without any violation of the County’s unlawful Harassment

Policy, No. 3.102 or any inappropriate contact.”

       74.     In or around August or September of 2019, Plaintiff was told that Camacho was

talking about her to other employees and joking about slapping her “ass,” stating that he got a

paid vacation out of it.

       75.     In or around August or September of 2019, male employees, including Barry

Mlodossich (“Mlodossich”) (male), Corrections Officer, John Cronce (“Cronce”) (male),

Corrections Officer, and Rivera (male), commented to Plaintiff: “Hey, Wilson, I’m looking for a

vacation, can I slap your ass?” or words to that effect.

       76.     In or around August or September of 2019, male employees, including

Mlodossich, Cronce, and Rivera, commented to Plaintiff: “I don’t blame Camacho, I would have

slapped your ass too,” or words to that effect.

       77.     Upon information and belief, other female employees have been subjected to sex-

based comments and conduct at Defendants. For example, female employees were stalked by

male employees, are subjected to comments about their bodies and physical appearance, asked to

have “threesomes,” and subjected to sexual comments about what things the male employees

want to do to the female employees to them. Additionally, certain male employees have

reputations for forcing themselves on female employees.

       78.     Upon information and belief, on at least three occasions, other women have made

complaints against Camacho alleging sexual harassment towards themselves or others.

       79.     When female employees have complained of sex discrimination, Defendants have

been dismissive of the complaints.
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        80.     Defendants have failed to remedy or prevent a culture of sex discrimination at

Defendants.

        81.     On several occasions in late-2019 and early-2020, Plaintiff complained to

Lieutenants Scott Goldy (“Goldy”) (male), Daniel VanArsdale (“VanArsdale”) (male), and Ryan

Dragotta (“Dragotta”) (male), her supervising Lieutenants, about the discriminatory and

retaliatory conduct that she was being subjected to, including, but not limited to, that Camacho

and other male employees were spreading false rumors of a sexual nature about her; that she was

being treated differently by her male peers, including being ignored and excluded from

conversations; that she was being scheduled for unfavorable work posts (e.g., maximum security

female units); and that she was the only Corrections Officer who was denied a taser despite being

assigned to Defendants’ tactical team (C.E.R.T. Team).

        82.     In response to her complaints, Plaintiff was told that she should just move pass

the incidents, because Defendants could not do anything about it and would not look into rumors

and hearsay.

        83.     Defendants failed to remedy or prevent the sex discrimination and retaliation to

which Plaintiff was subjected.

        84.     On July 27, 2020, Plaintiff submitted a letter to Lieutenants Goldy, VanArsdale,

and Dragotta, via email, notifying them that she was ending her employment with Defendants

because of the ongoing discriminatory and retaliatory conduct, and Defendant’s failure to

remediate same (the “July 27th Letter”).

        85.     Defendants did not respond to the allegations of discrimination and retaliations in

Plaintiff’s July 27th Letter.

        86.     Plaintiff’s sex was a motivating and/or determinative factor in Defendants’
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discriminatory and retaliatory treatment of Plaintiff, including, but not limited to, the hostile

work environment to which Plaintiff was subjected, which caused Plaintiff to terminate her

employment with Defendants, and constituted a continuing violation.

       87.     Plaintiff’s complaints of sex discrimination and retaliation were a motivating

and/or determinative factor in Defendants’ retaliatory treatment of Plaintiff, including, but not

limited to, the hostile work environment to which Plaintiff was subjected, which caused Plaintiff

to terminate her employment with Defendants, and constituted a continuing violation.

       88.     Plaintiff’s rejections of Camacho’s sexual advancements were a motivating and/or

determinative factor in Defendants’ retaliatory treatment of Plaintiff, including, but not limited

to, the hostile work environment to which Plaintiff was subjected which caused Plaintiff to

terminate her employment with Defendants, and constituted a continuing violation.

       89.     The retaliatory actions taken against Plaintiff after she engaged in protected

activity, including, but not limited to, the hostile work environment to which Plaintiff was

subjected, would discourage a reasonable employee from complaining of discrimination at

Defendants, and constituted a continuing violation.

       90.     Defendants failed to prevent or address the discriminatory and retaliatory conduct

referred to herein and further failed to take corrective and remedial measures to make the

workplace free of discriminatory conduct.

       91.     The discriminatory and retaliatory conduct of Defendants, as alleged herein, was

severe and/or pervasive enough to make a reasonable person believe that the conditions of

employment had been altered and that a hostile work environment existed, and made Plaintiff

believe that the conditions of employment had been altered and that a hostile work environment

existed.
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        92.     As a direct and proximate result of Defendants’ discrimination and retaliation,

Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning

capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,

mental anguish, and loss of life’s pleasures, the full extent of which is not known at this time.

        93.     Defendants acted with malice and/or reckless indifference to Plaintiff’s protected

rights, which warrants the imposition of punitive damages against Defendants.

                                         COUNT I
                                  (VIOLATION OF TITLE VII)

        94.     Plaintiff incorporates herein by reference the above paragraphs as if set forth

herein in their entirety.

        95.     By committing the foregoing acts of discrimination and retaliation against

Plaintiff, Defendants have violated Title VII.

        96.     Said violations were intentional and with malice and/or reckless indifference to

Plaintiff’s rights and warrant the imposition of punitive damages.

        97.     As a direct and proximate result of Defendants’ violation of Title VII, Plaintiff

has sustained the injuries, damages, and losses set forth herein and has incurred attorneys’ fees

and costs.

        98.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ discriminatory and retaliatory acts unless and until

this Court grants the relief requested herein.

        99.     No previous application has been made for the relief requested herein.

                                         COUNT II
                                 (VIOLATION OF THE PHRA)

        100.    Plaintiff incorporates the paragraphs above as if set forth herein in their entirety.
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        101.    By committing the foregoing acts of discrimination and retaliation against

Plaintiff, Defendants violated the PHRA.

        102.    As a direct and proximate result of Defendants’ violation of the PHRA, Plaintiff

has sustained the injuries, damages, and losses set forth herein and has incurred attorneys’ fees

and costs.

        103.    Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ discriminatory and retaliatory acts unless and until

this Court grants the relief requested herein.

        104.    No previous application has been made for the relief requested herein.

                                                 RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendants’ unlawful conduct, and specifically prays that the Court grant the following relief to

the Plaintiff by:

                a.     declaring the acts and practices complained of herein to be a violation of
                       Title VII and the PHRA;

                b.     enjoining and restraining permanently the violations alleged herein;

                c.     awarding Plaintiff damages for back pay, front pay, and pre- and post-
                       judgment interest;

                d.     awarding compensatory damages to Plaintiff for past and future emotional
                       distress and pain and suffering under Title VII and the PHRA;

                e.     awarding Plaintiff the costs of this action, together with reasonable
                       attorneys’ fees;

                f.     awarding Plaintiff punitive damages under Title VII;

                g.     awarding Plaintiff such other damages as are appropriate under Title VII
                       and the PHRA; and

                h.     granting such other and further relief as this Court deems appropriate.
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                                         Respectfully submitted,

                                         CONSOLE MATTIACCI LAW, LLC


                                   By:   /s/ Fernando I. Rivera
                                         FERNANDO I. RIVERA, ESQ.
                                         1525 Locust Street
                                         Philadelphia, PA 19102
                                         rivera@consolelaw.com
                                         (215) 545-7676

Dated: 8/18/2021                         Attorneys for Plaintiff
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                  Exhibit A
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                          redacted
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                  Exhibit B
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                                                  U.S. Department of Justice
                                                  Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             May 21, 2021

Ms. Tiffany Wilson
c/o Fernando I. Rivera, Esquire
Console Mattiacci Law
1525 Locust Street, 9th Fl.
Philadelphia, PA 19102

Re: EEOC Charge Against County of Northampton, et al.
No. 17F202060112

Dear Ms. Wilson:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
   The investigative file pertaining to your case is located in the EEOC Philadelphia District Office,
Philadelphia, PA.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                          Sincerely,

                                                        Pamela S. Karlan
                                                  Principal Deputy Assistant Attorney General
                                                     Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Philadelphia District Office, EEOC
  County of Northampton, et al.
